                                           Case 1:05-cr-01849-JCH                    Document 1493-1                Filed 12/29/08             Page 1 of 21
                                          WIRETAP CALLS TO BE INTRODUCED AT TRIAL
       Call-date-time       Call-#   Participants                         Summary

  1    3/4/2005         1811-0009    Salvador Abeyta, Dana Jarvis, Ayla Sal calls Dana. Dana tells him Ripley is on his way to Albuquerque "with check in hand." Sal asks if he should head down to
       4:25:42 PM                    Jarvis                             Albuquerque. Dana says yes and invites Sal to a party at the club to celebrate leasing it to someone else starting the
                                                                        following Monday. Dana tells Sal he can "grab a check when Ripley gets in."

  2    3/7/2005         1811-0226    Dana Jarvis; Ayla Jarvis, Lisa LNU   Ayla calls Dana to discuss travel plans and ask if "Mr. Davis" could fly her and a couple of friends to Las Vegas. Dana tells
       10:10:35 PM                                                        her maybe if he's back from "taking RB on a mission."


  3    3/8/2005         1811-0257    Dana Jarvis, Dakota Fitzner          Dana calls Dakota to find out if Mila had "something for sale" because there were "2 quarts" missing from the Bernalillo
       12:00:48 PM                                                        house. Dakota also tells Dana that he has the title to the Honda for him that Rafal signed.


  4    3/8/2005         1811-0278    Dana Jarvis, George Ripley           George calls Dana to check in. Dana tells him that RB will be at the"92" in a couple of hours and asks what would be the
       2:16:14 PM                                                         best number for him to call Ryan on [970-201-2416]. Dana asks George where he left the "goodies." George had to rent a
                                                                          locker and RB can get in if George calls them and sends a key to him next day air. George and RB barely crossed paths and
                                                                          RB is coming back "the fast way." George told RB that he has some "clay" if RB want to make "pots."

  5    3/9/2005         1811-0322    Dana Jarvis, Dennis Cox              Dennis Cox tells Dana that Dennis Cox's son doesn't talk to him so he hasn't caught up with him. Dana tells Dennis Cox to
       9:43:35 AM                                                         tell son [Casey Cox] that by ignoring Dana's calls he hurt the situation because his friend [George Ripley] had to rent a
                                                                          storage room instead of leaving "that" with son [Casey]. Dana says he's trying to build up that area and the "couple extras
                                                                          sitting around for small guys who needed them - now locked in a storage room."

  6    3/9/2005         1811-0323    Dana Jarvis, Dennis Cox              [continuation of call 1811-0322, dropped] Dana says he just wanted a little favor - to put "two things away" so he could
       9:49:35 AM                                                         "take care of the little guys; it might grow into something that would benefit him in the long run." Dana says three people
                                                                          were hung up and he's struggling to get back on his feet and now his guys are ready for him but he's stuck. Dennis Cox tells
                                                                          Dana they were trying to help Dana and there were a couple of opportunities.

  7    3/10/2005        1811-0349    Dana Jarvis, David Reid, Ralph       David tell Dana that he and Ralph are on the ground at the Double Eagle. They arrange to meet.
       10:17:59 AM                   [RB] Greene


  8    3/10/2005        1811-0371    Dana Jarvis, voicemail               Dana tells Dave and "our buddy" to meet him at the Bernalillo house.
       1:10:04 PM


  9    3/25/2005        1811-1118    Dana Jarvis, Donald Trujillo         Dana asks Donald to go up and get a "massive check" from the Old Man [Geno Berthod].
       10:51:58 AM


  10   3/25/2005        1811-1119    Dana Jarvis, Old Man [Geno           Dana tells Old Man that Donald his heading up from Santa Fe and asks if Old Man can drive south a little bit. Dana tells him
       10:56:51 AM                   Berthod ]                            that there is a project they can snag this weekend if they can get "him" [Donald] down there quick enough.


  11   3/25/2005        1811-1122    Dana Jarvis, Geno Berthod [Old       Dana asks Geno to separate out "4" for Bill who is headed over to see him and wait to head south to meet Donald until Bill
       11:42:19 AM                   Man]                                 gets there. Geno tells Dana that he came up with 12-5 and asks if that's right. Dana thinks it sounds right. Dana tells Geno
                                                                          he is trying to get together enough money to get another project and tells him that if he has any he wants to contribute, it
                                                                          would help.



                                                                                                                                                              Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                 Page 1 of 21
                                          Case 1:05-cr-01849-JCH                   Document 1493-1                Filed 12/29/08            Page 2 of 21
       Call-date-time       Call-#   Participants                        Summary

  12   3/26/2005        1811-1195    Dana Jarvis, voicemail [Donald      Dana leaves message saying that it looks like Old Man [Geno Berthod] was trying to call him and that he hopes Trujillo and
       9:51:19 AM                    Trujillo]                           Berthod met up the night before.


  13   3/26/2005        1811-1228    Dana Jarvis, Donald Trujillo        Dana leaves message saying he hasn't heard from Trujillo or Berthod and is getting worried.
       1:07:37 PM                    voicemail


  14   3/26/2005        1811-1241    Dana Jarvis, Donald Trujillo, UM    Donald tells Dana he never met up with Old Man [Geno Berthod] the night before. Berthod wouldn't return any of
       3:48:52 PM                                                        Donald's calls after 2:00. Dana thinks there's a problem and asks Donald to try calling Berthod again and then to call Dana
                                                                         back.

  15   3/26/2005        1811-1242    Dana Jarvis, Donald Trujillo        Berthod is still not answering his phone. Dana thinks he either ripped them off or there is something seriously wrong, such
       3:52:28 PM                                                        as a car wreck. Dana says this will mess up the thing he's doing - says, "I gotta go throw up now."


  16   3/28/2005        1811-1287    Dana Jarvis, Manuel Gil, Ayla Jarvis Manuel asks Dana if he wants him to go. Dana tells him the phone's no good, the police are on it. Dana tells Manuel to
       10:28:16 AM                                                        talk to Big John and get a new number.


  17   4/8/2005         1212-0035    Dana Jarvis, George Osgood          Dana and George are traveling to meet. Dana tells George that he is a little hesitant because of recent events with Old
       8:34:57 PM                                                        Man, but that he thinks everything is fine and is just being extra careful.


  18   4/9/2005         1212-0065    Dana Jarvis, George Osgood,         Osgood tells Dana he's apprehensive about meeting. He thinks they should just do the report and worry about the rest in
       8:04:18 AM                    George Ripley                       10 days. He just needs someone to come and get the "paperwork."


  19   4/9/2005         5731-0026    Dana Jarvis, George Osgood          Osgood calls Jarvis and says, “…things are slow…I was thinking of hopping on the plane myself…you know what I mean?”
       10:19:31 AM                                                       Jarvis responds, “It might be the least expensive way. What would it…would there be any major changes in the next say, 48
                                                                         hours or something?” Osgood says, “Well, what’s happening is, is that I have to wait ‘til Monday anyhow, and then he’ll
                                                                         have I think he said, about 30 pages done…and I was thinking god it seems like a waste of everybody’s time when I’m here
                                                                         and we’re just right there...you know.” Jarvis asks, “How about…Johnny, did he get to the (UI) tabs?” Osgood explains,
                                                                         “No, no answer on any of the numbers. The cell’s not connected and … there’s no answer at the house. And I would think
                                                                         that Al would be there first thing in the morning, but he doesn’t answer in the night or the day or … in the morning.”

  20   4/12/2005        1212-0171    George Ripley, David Reid           Dave needs gas money to fly George out to "1492" [Columbus]. George will work on it. Dave is planning to fly into Double
       12:29:12 PM                                                       Eagle


  21   4/12/2005        1212-0186    George Osgood, George Ripley        Ripley tells Osgood that he is flying from Albuquerque to Ohio the next day [4/13]. Osgood asks Ripley to tell Dana that
       5:36:07 PM                                                        Ripley will fly into Albuquerque tonight and will meet with Cathy when he gets in.


  22   4/13/2005        1212-0229    George Ripley, Dana Jarvis          Dana and RB need to know when Ripley and Dave will be in "1492" [Columbus]. Ripley tells Dana between 6 and 6:30 PM
       2:08:04 PM                                                        tonight. Ripley also tells Dana he saw Osgood the night before. Osgood was on his way to see Cathy and had documents
                                                                         with him, which saves Dana and Ripley a stop. RB needs Ripley and Dave to go down to Athens. Dana wants to know if
                                                                         Ripley has talked to the other two guys. Ripley has talked to Matt's sister's boyfriend.

  23   4/13/2005        1212-0233    George Ripley, Rocky Baker          It's 7 PM in Columbus, Ripley misunderstood when they would arrive. Ripley and Dave Reid have arrived and will be
       6:00:40 PM                                                        checking into the hotel across the street. Rocky will come out to meet with Ripley.



                                                                                                                                                           Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                            Page 2 of 21
                                          Case 1:05-cr-01849-JCH                    Document 1493-1                 Filed 12/29/08             Page 3 of 21
       Call-date-time       Call-#   Participants                        Summary

  24   4/13/2005        1212-0235    George Ripley, Ralph Greene [RB]    George tells Ralph that he's in "1492" [Columbus], but didn't get from the "home office" [Dana] whether Athens is in Ohio
       6:08:21 PM                                                        or Indiana. RB tells him it's Ohio. Dave will find the closest municipal airport and he and George will fly down the next day.


  25   4/13/2005        1212-0243    George Ripley, Ralph Greene [RB]    George and Dave Reid are planning to be at Snider Field Ohio University Airfield the next morning around 11:30. Ralph will
       9:00:24 PM                                                        confirm that they can meet with his buddy that they met last time - Steve.


  26   4/16/2005        5731-0189    Dana Jarvis, Ralph Greene [RB]      Dana and Ralph discuss Ralph's "numbers" on "that offer" ["that last one" from "1492"]. Ralph approximates one unit was
       11:52:59 AM                                                       21 and the other was 12, and the recent delivery of paperwork was exactly 20. Ralph asks if there is anything locally and
                                                                         what the next plan is where 1492 was. Dana doesn't want to talk about it on the phone, but is headed Ralph's way and will
                                                                         discuss it in person.

  27   4/27/2005        1212-0540    George Ripley, Ralph Greene [RB]    Ralph is looking for "our buddy" [Dana]. George talked to him earlier and he's "up north" [Colorado] for a little bit of quick
       7:04:27 PM                                                        business. Ralph hasn't been able to serve any local clients for 2 months and is going to lose his client out in "1492"
                                                                         *Columbus+ if he doesn’t get something. George is in the same situation. George says sometimes you just don't know
                                                                         "what's going on upstairs."

  28   5/5/2005         1212-0723    George Ripley, Rocky Baker          George is headed to Columbus to see Rocky in the next several days. Rocky is in Birmingham and if he isn't back by the
       1:45:00 PM                                                        time George gets there, George will have to meet Mike, Amber's boyfriend. George needs to know what kind of number
                                                                         they're looking at and Rocky wants to double what they did last time, especially if it's going to be as long a time span
                                                                         between now and the next time. George hasn't seen the incoming but thinks it should arrive the day after tomorrow. The
                                                                         "home office" [Dana] thinks George will be there by Tuesday if everything goes just right. George doesn't think it will be
                                                                         until mid to later in the week because nothing ever goes just right.

  29   5/5/2005         1212-0724    George Ripley, Ralph Greene [RB]    The "home office" [Dana] asked George call to find out what Ralph "would like to see" because "the freight train is headed
       1:51:15 PM                                                        this way." Ralph talked to "our buddy" [Dana] yesterday and so he already has the information "1492" [Columbus] and
                                                                         locally.

  30   5/5/2005         1212-0740    Dana Jarvis, George Ripley          Dana is in the middle of a meeting trying to convince his "buddy" to extend him a $200,000 credit line even though Dana
       7:35:55 PM                                                        doesn't have any money. Dana is taking a break to see if George has the address for the foil that they "wrap on the cables
                                                                         to protect the documents that we travel around." Sam is trying to re-create it for Dana's buddy because the buddy wants
                                                                         "to avoid having anything like that happen to them." Dana thinks if he can help, his buddy will give him the deal.

  31   5/25/2005        5257-0073    Jorge Luis Moffett, Manuel Gil      Dana told Manuel and Jorge he would have money by Friday. Jorge told Dana that until Dana pays he can't take any more
       4:27:27 PM                                                        [drugs]. Jorge says, "I told him to sell...that fucking shit. It seems to me that he has one million dollars...there in the bar."
                                                                         [call cuts off]

  32   5/27/2005        7130-0012    Dana Jarvis, Ronald Juarez, Cheri   Ronald is meeting with his ex-wife and Dana says he still keeps in touch with "the girl Barbara I was with. It's vital." Ronald
       5:29:01 PM                    Lukaks                              tells Dana that eh has good news on that job they were talking about and not to let Sheri know anything about "our fucking
                                                                         shit."

  33   5/27/2005        7130-0016    Dana Jarvis, Sam Jones              Sam is looking at the Pima County Assessor Property inquiry and it has Holly Bruner as the tax payer/ resident owner for
       7:15:22 PM                                                        the trailer. Dana doesn't think she'll cooperate, but he'd rather see her name on it than an unknown "Mexican that could
                                                                         be like, anti-American or something." Dana asks Sam if he found the list they put together before Sam left.

  34   5/28/2005        1212-0999    George Ripley, Ralph Greene         George calls to clarify numbers on pricing. Ralph says it is pretty standard and that he's thinking he'll "take fifty off of the
       11:48:18 AM                                                       regular or something."


                                                                                                                                                               Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                  Page 3 of 21
                                          Case 1:05-cr-01849-JCH                     Document 1493-1                  Filed 12/29/08             Page 4 of 21
       Call-date-time       Call-#   Participants                         Summary

  35   5/29/2005        7130-0067    Dana Jarvis, Donald Trujillo         Dana talks to Donald about his understanding of the "procedures" and having read his papers carefully. And discuss
       11:10:23 AM                                                        whether Donald is going to stick with "the Glen guy" or go with the public defender. They decide Dana won't send "the 2
                                                                          up to him" until he and Donald can sit down in person and come up with a better plan.

                                                                          Dana also offers to give Donald some gas money, which he accepts.

  36   6/2/2005         5257-0100    Jorge Luis Moffett, Manuel Gil       Jorge says Dana is "not half the man that I first met...he's losing all his fucking sales...He's not stupid, he's very intelligent.
       10:08:23 AM                                                        The fucking vices a and the whoring are fucking him up bad." Jorge says that hopefully Dana will get some money because
                                                                          Jorge told him "last time that I wasn't going to deliver anything to him."

  37   6/2/2005         7130-0197    Dana Jarvis, Manuel Gil              Manny needs money and Dana tells him to get to Arizona so that he'll be around if another job comes up, so he won't miss
       10:36:27 AM                                                        it like last time. Bill and Ralph are already there and will beat him out of a job if he's not around.


  38   6/2/2005         7130-0205    Dana Jarvis, A. Sanford, D. Trujillo, Adrian calls Donald for Dana to find out if Donald is going to go with Shapiro or the public chick. Donald decided to stick
       4:05:39 PM                    J. Moffett                            with the public defender. When Donald talks to Dana, he tells him that Shapiro raised his price again. Dana says staying
                                                                           with the public defender probably looks better, like he's just a "poor, innocent boy."

                                                                          Call waiting: Jorge Ortiz Moffett calls in and is at the trailer, but no one else is there. Dana tells him that "they're on their
                                                                          way."

  39   6/2/2005         5257-0103    Dana Jarvis, Jorge Luis Moffett      Jorge is at the trailer and Dana tells him that Ralph should be there any minute. Dana reminds him that he met Ralph years
       4:07:44 PM                                                         ago, that "he used to drive the stuff." Jorge asks if Dana found out the last name for the insurance company. Dana says,
                                                                          "it's, uh...B ...talk to RB, he's got it all."

  40   6/2/2005         7130-0208    Dana Jarvis, David Reid              Dana is trying to find a pipe he left sitting in an ash tray the last time Dave was over and thought maybe Dave saw it and
       4:48:02 PM                                                         put it away somewhere. Dave didn’t but remembers Cheri picking up a pipe and taking it to the kitchen. Dana gives Dave a
                                                                          heads up that Dana has a meeting this afternoon with somebody to do some work for them and will let him know the
                                                                          results.

  41   6/3/2005         7130-0229    Dana Jarvis, Jorge Luis Moffett      Dana tells Jorge to let him know if Jorge has any work for him. Jorge tells him that if they pay this guy what they owe him,
       10:14:01 AM                                                        which is "33," then he said he can probably help them. Dana has a check coming today or tomorrow and should have
                                                                          between "50" and "55."

                                                                          Dana says maybe the real estate lady can help out with this deal. Dana wants to keep the land. Jorge asks if he has the
                                                                          rights to it since the trailer and land are in another name.

  42   6/3/2005         7130-0252    Dana Jarvis, Adrian Sanford,         Chipper wants to know if Dana has any earnest money right now. Dana doesn't right now. Chipper tells Dana that he has
       2:39:18 PM                    "Chipper"                            "about 3 acres" and that Dana would "be happy with this land." Dana tells him that he has a van he can send over and that
                                                                          he's about to go on a "fishing trip" that is "about a three day drive." Dana tells him once they're on the road they can
                                                                          "C.O.D. that." Chipper left the "paperwork for the land in Phoenix" so it will take a day or so. Dana tells him the sooner the
                                                                          better because Dana's been working with these guys for over 30 years, but they've been working with his competition a
                                                                          little lately because Dana hasn't been able to fill their needs. Dana is sure glad "Doc" [Benjamin Swentnickas] came by and
                                                                          told him about the situation. Chipper tells Dana that this could be a continual thing if it works out.

  43   6/3/2005         7130-0253    Dana Jarvis, David Reid              Dave is checking on the meeting that Dana had regarding whether or not someone needed "some services." He never had
       3:54:15 PM                                                         the meeting, but has an "intensive job lined up" and will know in the next 24 hours. Dana thinks it will be "hot and
                                                                          happening" next Wednesday.

                                                                                                                                                                 Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                    Page 4 of 21
                                          Case 1:05-cr-01849-JCH                  Document 1493-1                 Filed 12/29/08            Page 5 of 21
       Call-date-time       Call-#   Participants                      Summary

  44   6/3/2005         1212-0129    Dana Jarvis, George Ripley        Dana got a proposition this afternoon that involves someone in George's area taking a trip near "the 1492" [Columbus], or
       8:11:48 PM                                                      maybe just as far as the stop before that, if George is interested. George is interested. Dana doesn’t know when the
                                                                       departure will be yet. George has been prepping. He just needs oil and he is ready to go.

  45   6/4/2005         5257-0117    Dana Jarvis, Jorge Luis Moffett   Jorge tells Dana that he had a meeting yesterday with his friend "from the company" and when Dana has the check, they
       12:41:18 PM                                                     can probably do something good with them.


  46   6/4/2005         7130-0271    Dana Jarvis, UM                   Dana could sure use UM to make some money. UM tells Dana "they're wanting more money." Dana says, "I hate to lose
       4:04:15 PM                                                      this market I spent 30 years building up."


  47   6/6/2005         7130-0328    Dana Jarvis, Ronald Juarez        Ronald was talking with "those people that remember about those things that got lost" and they were wondering if Dana
       4:52:43 PM                                                      thought of anything that he could give this week. Dana says no and asks if that is "about dinero or paperwork." Ronald
                                                                       affirms and says its "32." Dana is working on a plan and should have "a good chunk of fundage" in the next three weeks
                                                                       unless they get work earlier.

  48   6/6/2005         7130-0329    Dana Jarvis, Ronald Juarez        Dana talks about the ups and downs of life and not having money now. He says, "I'm just spoiled. I went all those years, I
       5:01:35 PM                                                      thought if I had less than 100 grand, I start to panic... Now we're out counting up pennies, nickels, and dimes to buy... some
                                                                       breakfast food."

  49   6/6/2005         7130-0344    Adrian Sanford, David Reid        Dana is unavailable so Dave tells Adrian that the plane is being worked on until the middle of next week.
       7:30:20 PM


  50   6/8/2005         7130-0462    Dana Jarvis, David Reid           Dana will be in contact with "this other person" who may be starting to give them "a bunch of jobs." Dana's surgery seems
       9:10:42 PM                                                      to be working out, he'll "be able to count money again here real soon." He hopes they'll have money to count.


  51   6/12/2005        7130-0615    Dana Jarvis, Geno Berthod         Dana hasn't heard back from Geno and therefore has decided he misjudged Geno's character. "I want my van back and I
       5:08:03 PM                    voicemail                         want it back now."


  52   6/14/2005        7130-0757    Dana Jarvis, David Reid           Dave is in "1492" [Columbus] for the night and wants to know if Dana needs anything picked up. Dave says he's trying to
       7:55:16 PM                                                      save Dana money by doing work for him while he's flying for someone else. Dana likes that and hopes he can "round some
                                                                       [money] up here." He thought there might be something.

  53   6/15/2005        7130-0775    Dana Jarvis, David Reid           Dave wants to know if the package is substantial and Dana says it's not, but depending on "how big your pockets are...it
       10:26:11 AM                                                     would be worthy." Dana wants to know if Dave's passengers will be flexible if Dave needs an extra half hour to get the
                                                                       package. Dave says it's fine. "They know I fly for you and they know that you are in real estate so I'm just picking up some
                                                                       documents for ya'."

  54   6/15/2005        7130-0776    Dana Jarvis, George Ripley        Dana needs George to get in touch with "those 2 parties" in "1492" [Columbus] - the one with the "earnest money" up
       10:30:51 AM                                                     front. Dana says he's just trying to get a decent project. He says," it's kind of been extra hard down here with the
                                                                       new...president...just made real estate just a little more of a challenging business, put it that way." Dana will call Ralph
                                                                       Greene and just talked to David Reid.

                                                                       They also talk about trying to get a phone number for Willow Adams. Dana wants to get back in touch with "those
                                                                       beautiful girls we used to hang around."



                                                                                                                                                            Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                              Page 5 of 21
                                           Case 1:05-cr-01849-JCH                   Document 1493-1                 Filed 12/29/08            Page 6 of 21
       Call-date-time       Call-#   Participants                        Summary

  55   6/15/2005        7130-0779    Dana Jarvis, Ralph Greene           Dana leave a message that David Reid is in "1492" [Columbus] and has asked if there is anything he can do for Dana while
       11:40:46 AM                   voicemail                           he's there. Ralph should call his buddy there.


  56   6/15/2005        7130-0782    Dana Jarvis, Ralph Greene           Ralph got Dana's message and it would be perfect, but his buddy [in Columbus] is out of town for a week. Dana says
       12:02:54 PM                                                       hopefully they'll have a reason to go there themselves soon. "The landlord is off to an adventure and is expected back
                                                                         tomorrow hopefully with good news"

  57   6/15/2005        7130-0785    Dana Jarvis, David Reid voicemail   Dana tells David to go ahead with is clients. "The person that we want to see is at a rock concert out of state right now."
       1:27:09 PM


  58   6/15/2005        7130-0800    Dana Jarvis, Greg Hill              Greg asks what happened to Donald and Dana tells him they'll talk about it in person. Greg says "that kind of freaked me
       6:19:39 PM                                                        out...he's on his way, he'll be here in a day and then I don't hear nothing." Dana says he's had his place [Club Rhythm &
                                                                         Blues] closed down for a while, but he just leased it to a new guy who will keep the music venue going. Greg asks if he and
                                                                         Dana are done this year. Dana's hoping to have someone coming to see Greg. They talk about Greg retiring his telephone
                                                                         number because it freaked him out when Donald called him on it after not showing up. Greg says, "The simple truth is
                                                                         that...if the worst did happen...wouldn't be too hard to figure out who I am no matter what name it's in." Greg says if they
                                                                         don't do any more work this year it's alright, but he could always use a little work and that it's getting late in the season
                                                                         and hot, so Dana has to use his discretion.

  59   6/17/2005        7130-0868    Dana Jarvis, Greg Hill              Dana is going to be doing some "corporate traveling" in David Reid's new plane and wants Greg to come with him and bring
       12:51:10 PM                                                       his checkbook. Greg is too busy but can lend Dana a "buck and half." Dana says, "this time of year a lot of people looking
                                                                         for just the right piece of real estate with the perfect air conditioner...then there's other people that...would sit and not put
                                                                         up their money for a while. And they kinda get lost out of the picture, so I was hoping we could get in on that." Dana will
                                                                         be there to see Greg maybe within 48 hours.

  60   6/17/2005        7130-0874    Dana Jarvis, Adrian Sanford         Dana gives Adrian an update on everything going on: Ronnie is supposed to come out to see Dana and has some real good
       4:17:03 PM                                                        news for him; George came out and had some really good news; Dana is probably flying out in the next couple of hours


  61   6/19/2005        7130-0958    Dana Jarvis, Ronald Juarez          Ronald tells Dana they've "got a whole lot of good things coming our way real quick." Dana has made some plans regarding
       7:34:18 PM                                                        Ronald's request, but is in Albuquerque trying to get some money. Ronald tells him to try to be back in Arizona before
                                                                         Tuesday because they will need to talk in person very soon.

  62   6/20/2005        7130-0963    Dana Jarvis, David Reid             David is on the ground. Dana is going to make one stop on his way to the airport and has some spending cash for them.
       11:09:35 AM


  63   6/20/2005        7130-0982    Dana Jarvis, Manuel Gil             Dana is so broke that he used all his extra change. He flew out to the Midwest and his buyer is going to give him lots of
       9:40:27 PM                                                        money so that they can go back to work and so he can give Manny some money and pay some bills. Manny can meet Dana
                                                                         at the airport in Albuquerque when they fly back and Dana can give him and envelope.

  64   6/20/2005        7130-0983    Dana Jarvis, Ronald Juarez          Ronnie needs some money to get to where Dana is. Dana will have some expense money for him tomorrow. Ronnie says,
       10:00:05 PM                                                       "we're both going to be happy...soon."


  65   6/21/2005        7130-0997    Dana Jarvis, Greg Hill              Dana is at the Marriott downtown. It's right around the block from Greg. Greg will be right there in his truck.
       1:10:11 PM



                                                                                                                                                              Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                Page 6 of 21
                                           Case 1:05-cr-01849-JCH                 Document 1493-1                  Filed 12/29/08           Page 7 of 21
       Call-date-time       Call-#   Participants                      Summary

  66   6/21/2005        7130-1007    Dana Jarvis, David Reid           David had to pay $160 to land and needs Dana to just wait for him to get there.
       2:36:53 PM


  67   6/22/2005        7130-1039    Dana Jarvis, Mike Hannah          Dana has a "package" for Mike.
       1:11:01 PM


  68   6/22/2005        7130-1043    Dana Jarvis, Ralph Greene         Dana is waiting on a project this afternoon and needs to know if Ralph is available. He is. Ralph is calling because "Bill
       1:38:50 PM                                                      wanted to grab another one of those" and Ralph is making sure it's okay. It is.


  69   6/22/2005        7130-1047    Dana Jarvis, Mike Hannah          Mike is moving in Dana's general direction. Dana thinks it is better for him to see Mike in person, rather than sending
       2:58:36 PM                                                      someone else, because it is a "pretty sizeable thing."


  70   6/22/2005        5257-0181    "Tocayo", Jorge Luis Moffett      Jorge tells Tocayo that the man [Dana] is here and they need to do it soon or someone might beat them on the deal.
       7:28:22 PM                                                      Tocayo says he will leave early since "the stuff" is already there. Jorge asks if "the stuff" is good and Tocayo tells him that
                                                                       they have the kind of "calves" that Jorge likes and there are about 1500. "The guy" [Dana] will tell them what the deal is
                                                                       once Tocayo is over there. Jorge tells him that he needs to get there early or these people might go somewhere else.

  71   6/22/2005        5257-0182    Dana Jarvis, Jorge Luis Moffett   Jorge asks Dana to wait for him because he's "working hard for this."
       7:32:11 PM


  72   6/23/2005        5257-0196    Jorge Luis Moffett, UM            Jorge wants to know if everything is the same because he's going to see "the man" [Dana] and "I've been with him a long
       2:09:51 PM                                                      time...he won't go short on me. If I pay him two hundred...I have to give him two hundred more. That is how I've done it
                                                                       with him my whole life....he hasn't told me that he wants them yet. That's the problem." Jorge says if he doesn’t get Dana
                                                                       what he needs, he has two or three companies that will. "With the amount of money he has he can take whatever he
                                                                       wants....That's the disadvantage I have because he's a prestigious person...he's struggling right now...because the lots are
                                                                       not good because it hasn't fucking rained." Jorge continues, "he didn't want to bring any because...he had a problem
                                                                       with...a bell and he changed the system...he now brings it through another way. One...check also got lost in the mail...now
                                                                       he is a lot more fucking careful." Jorge wanted to take Dana a "little car" first so that he could see it. He is half way to
                                                                       Dana's ranch now.

  73   6/23/2005        5257-0200    Dana Jarvis, Jorge Luis Moffett   Dana tells Jorge that it's good and it will work.
       4:16:26 PM


  74   6/25/2005        5257-0233    Dana Jarvis, Jorge Luis Moffett   Jorge finally has good news. He will meet with Dana before 4:00 and they will deliver "that" to Jorge after 4:00. Someone is
       11:09:29 AM                                                     working right now, but everything is together.


  75   6/25/2005        7130-1224    Dana Jarvis, Mike Hannah          Dana and Mike plan to meet at Cortero.
       12:41:32 PM


  76   6/25/2005        7130-1235    Dana Jarvis, Ayla Jarvis          Ayla has everything and is leaving Santa Fe. She tried to call George, Ralph and [someone U/I], but none of them
       4:08:57 PM                                                      answered. [Call is lost.]




                                                                                                                                                            Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                               Page 7 of 21
                                           Case 1:05-cr-01849-JCH                 Document 1493-1                  Filed 12/29/08              Page 8 of 21
       Call-date-time       Call-#   Participants                      Summary

  77   6/25/2005        7130-1237    Dana Jarvis, Ayla Jarvis          [call 7130-1235 continued after being lost] Dana will check in with Dakota on the title to the house. Dana talked to Ralph
       4:22:00 PM                                                      yesterday and even if he did have something for Ayla, "there's no need to take time out and...pick up cash now...we've
                                                                       got...fundage down here."

  78   6/25/2005        5257-0271    Dana Jarvis, Jorge Luis Moffett   Jorge wants to know if "the pizza...was okay with you...with cheese...and mushrooms and...onions....You can have a nice
       10:49:57 PM                                                     dinner?" Dana says he's not hungry right now but will call in a few minutes.


  79   6/26/2005        5731-1544    Ayla Jarvis, UM [Merk]            UM calls Ayla to try to get something together today. He will call Batman and they will get on it. Ayla has "a buck thirty."
       10:08:43 AM


  80   6/26/2005        5731-1545    Dana Jarvis, Ayla Jarvis, Josh    Ayla asks if " what we talked about last night...is all good still." It is and she tells him that she's getting that together right
       10:13:15 AM                   Gamboa                            now.


  81   6/26/2005        5731-1550    Ayla Jarvis, UM [Merk]            Ayla needs a "sample cod first."
       10:38:58 AM


  82   6/26/2005        5731-1552    Ayla Jarvis, Nate Hayes, UM       Batman isn't answering UM's call. UM tells her that "if we go ahead and go to the party...you got to make sure everything
       11:03:09 AM                   [Merk]                            is organized...I'm renting the tents and all that shit from a new company and they're very strict about the hours...the don't
                                                                       understand why all the guests aren't there already."

  83   6/26/2005        5731-1553    Ayla Jarvis, Merk                 Merk is telling Ayla to make sure everything is ready on her end. She asks him to "pick it up...let them smoke it right
       11:21:34 AM                                                     away." He tells her that she needs to provide all the machinery in case they do the measurements.


  84   6/26/2005        5257-0286    Dana Jarvis, Jorge Luis Moffett   Jorge asks Dana to "call the welder" [Mike Hanna] because he needs "25" for expenses. Dana will have Mike call Jorge.
       11:39:59 AM


  85   6/26/2005        7130-1301    Dana Jarvis, Adrian Sanford       Dana talked to "Mr. Nervous" who said to be ready to meet up. Dana also say "we got another lead...through my
       12:03:16 PM                                                     daughter...with the negros...and it's way better.


  86   6/26/2005        5731-1558    Ayla Jarvis, Merk                 Merk is going to "pick up one of the smaller tents" for Ayla to see right now.
       1:35:41 PM


  87   6/26/2005        5731-1562    Ayla Jarvis, Merk                 Merk just "grabbed a little something." He asks if she could come to the studio the could have "the whole birthday cake
       2:03:07 PM                                                      just sent over."


  88   6/26/2005        5257-0301    Jorge Luis Moffett, Mike Hannah   Jorge wants to know if his "friend" [Dana] called Mike. Mike tells Jorge that he did, but didn't give any orders and is
       2:06:13 PM                                                      supposed to call back in a few minutes. Jorge asks Mike not to tell Dana that he called.


  89   6/26/2005        5731-1564    Ayla Jarvis, Merk                 Merk asks Ayla to meet him at his house because Batman is on his way to the studio and Merk doesn’t want his "customer
       2:09:58 PM                                                      and Batman to bump into each other."


  90   6/26/2005        7130-1312    Dana Jarvis, Mike Hannah          Dana isn't sure he wants to give "him" [Jorge Moffett] a "two-fiver." He will make the determination and then let Mike
       2:21:59 PM                                                      know.

                                                                                                                                                               Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                  Page 8 of 21
                                           Case 1:05-cr-01849-JCH                  Document 1493-1                Filed 12/29/08             Page 9 of 21
       Call-date-time       Call-#   Participants                       Summary

  91   6/26/2005        5257-0303    Dana Jarvis, Jorge Luis Moffett    Jorge's friend [Atlan] is at the store but doesn't see the truck. Adrian picked it up and they have the leftovers now. Adrian
       2:37:17 PM                                                       will leave Dana's in one minute and be back there with the empty truck.


  92   6/26/2005        7130-1317    Dana Jarvis, Ayla Jarvis           Ayla is to check everything out and then bring the "yeses" out to Dana. He tells her they will be able to get the cash today.
       3:57:29 PM                                                       "It's for sure."


  93   6/26/2005        5257-0306    Atlan Sotelo, Jorge Luis Moffett   Atlan says everything is fine. Jorge is going to call "the old man" [Dana] because he was supposed to call Jorge, but hasn't.
       4:07:15 PM                                                       Jorge tells Atlan to "classify me some horses, that they be well shod...and that the same dumb things not reoccur." Jorge
                                                                        told Dana this it would be "a horse, two or three extra horses." Jorge says supposedly Dana kept half the horses, but he
                                                                        will check on it.

  94   6/26/2005        5257-0309    Dana Jarvis, Jorge Luis Moffett    Dana asks if Jorge ever looked at the measurements. Jorge wants to know how much Dana needs "from the store, back
       4:13:17 PM                                                       again....How much to complete...the grocery store. You know from the Home Depot? All the...tile and all that." Dana says
                                                                        "We've only got like 80." Jorge says there going to send "a new...everything...don't worry for the...down payment." Dana
                                                                        asks about the price and Jorge tells him they'll work it out. Dana will take care of "the welder" [Mike Hannah], but Adrian is
                                                                        waiting around. Jorge tells him that "he" [Atlan] is on his way back and he needs "that check." Dana will have Mike call
                                                                        Jorge in 2 minutes.

  95   6/26/2005        7130-1321    Dana Jarvis, Mike Hannah           Dana asks Mike to call Jorge Moffett and to give him a "two-five."
       4:16:12 PM


  96   6/26/2005        5257-0311    Atlan Sotelo, Jorge Luis Moffett   Jorge says, "...I need to speak to you here, right away. Because...he returned a fucking lot of the horses, dude. That's the
       4:42:05 PM                                                       truth, the old man checked everything in the morning...will start with you."


  97   6/26/2005        7130-1324    Dana Jarvis, Mike Hannah, Ayla     Dana needs Mike to give Jorge Moffett 20 instead, maybe less. Mike should call Dana right before he gives it to Jorge.
       4:55:39 PM                    Jarvis


  98   6/26/2005        5731-1571    Ayla Jarvis, Batman                Ayla tells Batman that "it's all good... If you guys want to bring those out here...we'll have the paperwork right here too."
       5:02:11 PM


  99   6/26/2005        7130-1326    Dana Jarvis, Mike Hannah           Dana tells Mike to "make it 10 only" and to tell him [Moffett] that what's been presented to Dana is not acceptable and
       5:05:46 PM                                                       that the 10 is just to help him out.


 100 6/26/2005          5257-0324    Dana Jarvis, Jorge Luis Moffett    Jorge doesn't know what is the problem. Dana asks if his friend [Mike Hannah] told Jorge that he needs to talk to Dana in
     5:47:10 PM                                                         person. Dana can't talk on this phone anymore. Jorge is waiting for his friend who is "pissed" because Jorge promised
                                                                        something and "my word is like shit." Dana says "I'll come to where you are and I'll explain it to you, you'll understand."

 101 6/26/2005          7130-1331    Dana Jarvis, Adrian Sanford        Dana tells Adrian to go into the shed and "pull out the 6" and then for all of the guys to look at them and pick their
     5:51:44 PM                                                         "favorite 2."

                                                                        Dana says, "Most of those guys have been getting their Cheech and Chong on me."

 102 6/26/2005          7130-1332    Dana Jarvis, Josh Gamboa           Dana asks if they are doing the comparison he asked Adrian to do. He wants them to look closely and then let him know
     6:02:55 PM                                                         what they all think.


                                                                                                                                                            Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                              Page 9 of 21
                                          Case 1:05-cr-01849-JCH                  Document 1493-1                 Filed 12/29/08            Page 10 of 21
       Call-date-time       Call-#   Participants                       Summary

 103 6/26/2005          5731-1581    Dana Jarvis, Ayla Jarvis           Ayla tells Dana they're keeping "168" and for the paperwork she needs "108." They can bring more tomorrow and she tells
     7:27:04 PM                                                         him it sounds even better than what he has seen. He will see Mike himself and Ayla is to get "those kids out to the
                                                                        ranch...make sure it gets done right...double check it there on Ronnie's unit."

 104 6/26/2005          5731-1587    Ayla Jarvis, Mike Hannah           Ayla wants to know if Mike has met with Dana yet. He hasn't. She tells Mike she needed to get "a dollar and eight cents."
     8:11:34 PM                                                         She can't get in touch with Dana because his phone is dead and he left the restaurant. She is waiting for him and needs the
                                                                        money pretty quickly. Mike needs authorization.

 105 6/26/2005          5731-1594    Ayla Jarvis, Mike Hannah           Ayla is still trying to get a hold of Dana and "these guys are waiting." She wants to know if she can just meet Mike. Mike
     8:18:35 PM                                                         needs authorization.


 106 6/26/2005          5731-1597    Ayla Jarvis, Mike Hannah           They still have not been in contact with Dana. Mike says its the "usual communication problem...that lies with one
     8:22:46 PM                                                         person." Mike will go through is messages again. He's "just kind of paranoid about that large."


 107 6/26/2005          5731-1600    Dana Jarvis, Ayla Jarvis           Ayla tells Dana that she has talked to Mike several times and that he has been trying to get a hold of Dana. Mike just needs
     8:28:26 PM                                                         the okay and then Ayla can drive to get it. Dana says, "How dare you speak...like this...That's way out of line...No one is
                                                                        authorized to call him...but me...Last time someone did that, I didn't work with them for a year...Only nervous Mexican
                                                                        George did that and it cost him...I'll just cancel the whole fucking thing if you think you can go jumping the gun and
                                                                        shit...You should have Mike call me here. That's the order of life...no one is getting a fucking penny until I look at everyone
                                                                        of 'em...Go get those things out there...check 'em, make you list, the weight with these guys is...notoriously wrong. I ain't
                                                                        turning over a dime until you give me a net list. I told you that once, that's been a rule, that's what I do with everybody else
                                                                        that's...what I'm doing with you...when you got 'em in place then I will meet them with the 108..."

 108 6/26/2005          5731-1601    Ayla Jarvis, Mike Hannah           Ayla says to someone in the background, "Wait, I needed to get that number checked." Ayla talked to Dana and Mike
     8:31:34 PM                                                         needs to call him at the restaurant.


 109 6/26/2005          5257-0341    Atlan Sotelo, Jorge Luis Moffett   Jorge just met with "the old man" [Dana] and Dana told him " it wasn't... the ones from the quantity that you [Atlan] told
     8:37:56 PM                                                         me, what we had talked about for the food....you [Atlan] told me that, supposedly, that we had to pay $350 there for the
                                                                        grain for the horses. It wasn't that. It's $213 for the horses." Atlan says there are "12 pieces." Jorge is upset because Dana
                                                                        told him "that's not worth a shit" and Jorge didn't know what was going on. Jorge had told Atlan that Dana "like the
                                                                        horses...that he was going to get about 80 pounds...to give to the horses and cows" and now Dana said, "I won't give one
                                                                        more fucking nickel until they do what they said they were going to do.

 110 6/26/2005          5731-1608    Dana Jarvis, Ayla Jarvis           Ayla has it all together. Dana is waiting for a ride down the street. Ayla tells him it needs to be "107" which includes her
     9:30:09 PM                                                         part. Ayla says she'll just get her part from Batman after Dana gives it all to him. Dana does not recommend that she do
                                                                        that. He says, "Just tell me what he's got coming and I'll put yours aside. I don't care what it is. You did your job. Give me
                                                                        plenty, don't be shy." [call disconnected]

 111 6/26/2005          5731-1609    Dana Jarvis, Ayla Jarvis           Ayla tells Dana that Batman's part is 102125. Dana will make that much out for him and bring the rest back to Ayla. Ayla is
     9:32:28 PM                                                         to tell Batman to meet Dana at Webs on Old Spanish Trail.


 112 6/26/2005          5731-1610    Ayla Jarvis, Batman                Dana will meet Batman at Webs and he's just keeping Ayla's part. She says, "So you're getting six dollars and twenty five
     9:35:02 PM                                                         cents."




                                                                                                                                                            Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                              Page 10 of 21
                                          Case 1:05-cr-01849-JCH                     Document 1493-1               Filed 12/29/08             Page 11 of 21
       Call-date-time       Call-#   Participants                         Summary

 113 6/27/2005          7130-1356    Dana Jarvis, Dennis Cox              Dennis needs to meet with Dana to discuss something very important.
     9:51:20 AM


 114 6/27/2005          7130-1357    Dana Jarvis, David Reid, Justin      Dana asks if David could take himself, Ayla, Nate, and possibly 1 or 2 other passengers to Albuquerque this afternoon or
     10:32:30 AM                     Maynard                              tomorrow. Dana is "working on some plans that are good for all of us..."


 115 6/27/2005          7130-1375    Dana Jarvis, Salvador Abeyta         Dana got involved in an "intriguing situation." David is going to fly him, Ayla, and Nate to Albuquerque tomorrow. Dana
     5:38:43 PM                                                           might have David fly him on to the Midwest depending on how things develop. Sal can fly with them to Albuquerque if
                                                                          he'd like and Dana might be able to give him "some change." Either way Sal needs to meet with him tomorrow.

 116 6/28/2005          5257-0377    Dana Jarvis, Jorge Luis Moffett      Jorge tells Dana that they're going to be there in 30 minutes. Dana says he'll have someone there at 11:00. He also knows
     11:41:53 AM                                                          someone who might be interested in "picking up the leftovers, the part, before we take them back to the shop." Dana will
                                                                          call her.

 117 6/28/2005          7130-1403    Dana Jarvis, Sam Jones               Dana tells Sam to get there as quick as he can. Dana will cover the expense of a flight. Sam doesn't want to step on Ralph's
     12:05:03 PM                                                          toes, but Dana tells him that he [Sam] is "first in line."


 118 6/28/2005          7130-1411    Dana Jarvis, Manuel Gil              Dana has some work going and asks if Manuel wants to "come down and visit." Dana tells him to go see George for money
     12:32:06 PM                                                          to fly tonight with Sam. Dana reminds him of the things he can't take in his pockets on the plane - "No joints."


 119 6/29/2005          5731-1762    Ayla Jarvis, Batman                  Batman wants to know if they're going to meet before the 4th, but Ayla thinks it won't be until after because the still
     3:43:53 PM                                                           "haven't gotten this one out...we're going to get it out of here tomorrow." Ayla asks if "they have a place to get rid of them
                                                                          right now" and Batman says, "they just saw 1500 pounds." Ayla says they're only going to do the same amount as last
                                                                          time - 15.

 120 6/29/2005          5731-1772    Dana Jarvis, Ayla Jarvis             Dana says the plan is to leave tonight. Ayla tells him that Batman was wondering when they'll be back. She says, "they
     7:08:42 PM                                                           don't have that much left, but he's putting some away for us."


 121 6/30/2005          5731-1823    Ayla Jarvis, Dana Jarvis voicemail   Ayla leaves message for Dana: "I just wanted to let you know that you are sitting in the middle of a...nude strip club. All
     8:08:15 PM                                                           the chicks are wearing see through G-strings and one pair of panties and it's absolutely...absurd...I don't know, you might
                                                                          want to check it out for yourself because it's...not very cool."

 122 6/30/2005          5731-1824    Ayla Jarvis, Adrian Sanford          Ayla says, "...you kind of fucked up...those things were nude basically. Those girls...they're just like see through G to string
     8:15:08 PM                                                           everything...I mean...way, way not cool....it should have been 10 times thicker...we've never once sent it that way ever."
                                                                          Adrian told her that he did it the way Dana told him to and when he tried to put on more, he "got shit." Ayla is freaking out
                                                                          because she can't get a hold of Dana. Adrian asks her if it stinks and she says, "Yeah. I'd say definitely."

 123 6/30/2005          7130-1492    Dana Jarvis, George Ripley           Dana is in the Midwest, the "Big I" asks George to get to "1492" [Columbus] tomorrow. He has a small project that
     8:38:30 PM                                                           probably won't take more than a day. Ralph is there with Dana


 124 6/30/2005          7130-1493    Dana Jarvis, Ayla Jarvis             Ayla tells Dana again that "strippers have see through G-strings and one pair of panties" He understands and will check on
     8:48:02 PM                                                           it.

                                                                          Ayla is still in Bernalillo.


                                                                                                                                                              Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                Page 11 of 21
                                          Case 1:05-cr-01849-JCH                   Document 1493-1                  Filed 12/29/08             Page 12 of 21
       Call-date-time       Call-#   Participants                        Summary

 125 6/30/2005          7130-1496    Dana Jarvis, Greg Hill voicemail    Dana leaves message for Greg saying he is not too far away and looking forward to seeing Greg maybe later tonight.
     9:56:59 PM


 126 7/1/2005           7130-1520    Dana Jarvis, Greg Hill              Dana is eating one of Greg's burgers and Greg will be right in.
     4:51:01 PM


 127 7/2/2005           7130-1548    Dana Jarvis, Dennis Cox             Dana leaves message: "D, of all the times your phone is down! Jesus... Ayla is with Casey right now wondering what to do.
     10:32:41 AM                                                         I'm in Columbus. I've got my guys in Columbus. I've got my guys up there in Michigan in that little town... We are just
                                                                         waiting for instructions from you and Bobby.

 128 7/2/2005           5731-1881    Ayla Jarvis, Dana Jarvis            Ayla is with Casey. Sam is right in town and the motel. Dana says, "All we want to do is just to find out where that storage
     11:24:32 AM                                                         unit is at, that's all....And they want you to go inside to see what he's got, and you know, describe it to us, that's all...Unless
                                                                         what he's got inside is nice, then take some for yourself." Dana is in Chicago with the plane and Ralph, George, and Sam
                                                                         and George. Ayla tells him not to talk about that. Dana can't get a hold of Bobby or Dennis. If she gets this done today,
                                                                         Dana says David Reid can fly and pick her up.

 129 7/2/2005           7130-1555    Dana Jarvis, Sam Jones              Dana is in Columbus. George and Ralph are "doing their thing...their little marketing deal...ain't marketing...which is nice
     11:32:19 AM                                                         raising up some dough for the fund. Dana has a hotel in downtown Columbus "and the guys are working out their logistics
                                                                         to get rid of the last...of this luggage...we don't want to be taking that back with us, of course....we're trying to trim as
                                                                         much of that into money as possible."

 130 7/2/2005           1212-1603    Bill Rayburn, George Ripley         George is in Bill's area and needs to know if he can take care of Bill because he's in "real good shape" and he thinks they're
     1:09:00 PM                                                          in better shape than before. Bill wants to know if it's the "same kind of shelf paper." George says yes, but better.


 131 7/2/2005           7130-1568    Benjamin Swentnickas, Dana Jarvis Dana enjoys "doing this... you know it's not something that you can call the authorities on and... I kind of have the
     4:34:37 PM                                                        resources here to do something about it and maybe it'll benefit me in the long run..."


 132 7/2/2005           7130-1573    Ayla Jarvis, Dana Jarvis            Ayla asked Casey if she could get "something of his" because what she brought is gone and her driver "could get rid of it
     5:44:52 PM                                                          too." Dana tells her she's pretty slick for being able to "pull shit off like that. I mean I wouldn't go for that story in a
                                                                         hundred years." Dana talked to Bobby, "the rock star," who is on his way up to "this area." Ayla is hoping to get "one or
                                                                         two big ones" so they can "compare it with whatever was lost." Dana tells her it a certain special kind of silver that is very
                                                                         thin and kind of stiff. Bobby has a list of numbers, so if there are numbers on the packaging Ayla should make a not of
                                                                         them. Dana tells her she is "going to get a chapter in the history book of the biz...You are making a guy happy. His is
                                                                         like...it would be like the Mick Jagger is to music."

 133 7/2/2005           7130-1574    Bobby Driscoll                      Bobby is trying to decide whether to fly to Chicago or Detroit. Dana has his private plane in Columbus and they flew right
     6:40:14 PM                                                          over the metal shed. Dana has a travel agent [Bill Sidman] that can check on things for Bobby. Casey took Ayla as far as the
                                                                         little town, but wouldn't let her go to the shed, but Sam slipped out the back door of the hotel and is following Casey.

 134 7/2/2005           7130-1579    Artie LNU, Dana Jarvis              George called Fuzzy, but "they" blew George off. Dana thinks that "they" didn't know who George was. Dana wants to
     8:07:36 PM                                                          know if Artie knows "them" well enough to call and tell "them "that Dana wants to talk about the situation with Casey.
                                                                         Artie will do that.

 135 7/2/2005           7130-1580    Artie LNU, Dana Jarvis              Artie talked to "Fred, the friend of the girl" and "they don't mind talking to you and all. Unfortunately, you they feel the
     8:19:03 PM                                                          heat. They are high and dry and they haven't had anything for a long time. They really got screwed by they guy
                                                                         investigating." Dana thanks him for "breaking the ice."

                                                                                                                                                               Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                  Page 12 of 21
                                         Case 1:05-cr-01849-JCH                  Document 1493-1                 Filed 12/29/08            Page 13 of 21
       Call-date-time       Call-#   Participants                      Summary

 136 7/2/2005           7130-1584    Dana Jarvis, David Reid           Dana met up with the "friend who was flying in last night." Dana doesn't really need to stick around and thinks maybe they
     8:48:51 PM                                                        should plan to leave in the morning. He picked up a small check and wants to make a quick stop on the way home "on the
                                                                       first stop." Ayla almost got a ride with "Mike" [Casey's friend] to the spot they're looking for. Instead, Sam followed him,
                                                                       but Sam got pulled over on the way over. "The guy" got pulled over also. Everything is looking good and Dana should have
                                                                       most of David's paycheck in hand.

 137 7/3/2005           7130-1604    Dana Jarvis, David Reid           Casey "stole close to half a million from Bobby...on products...we suspect he has it up there at that place...near where Sam
     11:01:08 AM                                                       is." Ayla is in also and they are trying to get the stolen goods back for Bobby. Bobby is "the godfather of the business."
                                                                       Dana says, "if we recover this...product...we can have part of that...that's a big bust because I've been cash poor...I'm
                                                                       talking too much on this phone." They are doing something in Bobby's interest. The "broker" put Bobby and Dana
                                                                       together, so if they make any money, Dana will give some to the broker, but he will have a direct connection with Bobby.

 138 7/3/2005           7130-1606    Dana Jarvis, Ralph [RB] Greene    Dana needs to know the number he quoted to Ralph. It was "9 even." It would be better for Dana if Ralph could get a little
     12:05:59 PM                                                       more, maybe 950, but if it's too much trouble it's alright. Dana tells Ralph that it looks like "the young man" [Casey] had
                                                                       "something to be worried about ...when he got pulled over by the police."

 139 7/3/2005           7130-1609    Dana Jarvis, Tracy LNU            Dana finally got back on his feet financially. "There's a big pile of hundreds sitting on the bed here." Dana thought he
     12:40:48 PM                                                       should probably give some of the money to Tracy sometime.


 140 7/3/2005           7130-1618    Dana Jarvis, Ralph [RB] Greene    Dana wants to know if there was any of their "personal stash...with those variety of...three little packages" left. Ralph tells
     2:53:32 PM                                                        him it would be with Dana's laptop. Dana finds it. George Ripley is out buying tools and David Reid is picking up "the Rock
                                                                       star" [Bobby Driscoll].

 141 7/3/2005           1212-1643    "Fuzzy", Dana Jarvis, George      George tells Fuzzy that "D [Dana] forgot his briefcase...it's an important piece."
     7:04:00 PM                      Ripley


 142 7/4/2005           7130-1652    Dana Jarvis, Dennis Cox           Dana and Bobby are sightseeing and Artie is sightseeing on the other side of town, but they haven't been able to "pin this
     1:14:30 PM                                                        down." Dennis saw Dana's "old Joe, Grandpa Joe" working at the VA hospital. Dana and George met with Fred and Fuzzy
                                                                       yesterday and went to their house. Dana saw the room where Casey was staying with them. Casey was trying to get Fred
                                                                       and Fuzzy to cut out "the broker". Dennis says Casey has "been dishonorable all up and down the line...I don't know where
                                                                       he learned...that kind of behavior." Dana says, "...he didn't get it from me because...I can't stand them doing anything like
                                                                       that..." They talk about someone checking on Casey's house and putting a protrack on his vehicle. Dana tells Dennis to tell
                                                                       Joe hi and "tell him he doesn't have to be afraid of me...I never threatened him or nothing. I just told him he had to leave
                                                                       town..."

 143 7/6/2005           5731-1954    Ayla Jarvis, Batman               Ayla is on her way back to Tucson and if Batman still has "that" on hold for her, she'd love to get it from him.
     11:04:50 PM


 144 7/7/2005           5257-0444    Dana Jarvis, Jorge Luis Moffett   Dana is in Albuquerque and will be down to Tucson soon. Jorge says, "You don't have any ...money here?...I'm in a ...very
     3:08:13 PM                                                        bad situation my friend. Really, I don't have any money...for food....But you know, I...have some good product. Something
                                                                       important you can see..." Dana is waiting for the money to get to Albuquerque.

 145 7/7/2005           7130-1741    Ayla Jarvis, Batman               Ayla will be back in Tucson soon. She tells Batman that "it's looking good...it's still the same." He asks, "about two or one
     4:52:20 PM                                                        sixty something?" She affirms. He just needs to know in advance so he can "go over there and look at those girls."




                                                                                                                                                            Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                             Page 13 of 21
                                          Case 1:05-cr-01849-JCH                    Document 1493-1                 Filed 12/29/08             Page 14 of 21
       Call-date-time       Call-#   Participants                         Summary

 146 7/7/2005           7130-1763    Dan Chomyn, Dana Jarvis              Dan doesn't "have any potential, that's the problem. I put all my eggs in one basket." Dana wants him to come down, but
     9:16:54 PM                                                           he says, "I'm concerned, man. I'm not being fucking weird...I got cut out for a year, I mean it's okay 'cause...I'm...gotten
                                                                          safe, you know...'cause my guy had a problem...if you're a golfer buddy, he wouldn't even be fucking talking right now.
                                                                          God, no I'm not going to come down to the war zone..." Dana asks Dan to get a message to "the old man" [Geno Berthod].
                                                                          Dana says, "...he left me high and dry. There's a real good chance we could have retrieved that. He just chickened
                                                                          out....We had attorneys...with great advice, but he didn’t even get a chance to listen to them....But uh...what's mine is
                                                                          mine..." [call disconnected]

 147 7/7/2005           7130-1765    Dan Chomyn, Dana Jarvis              Dan tells Dana to come up and "Bring Cathy with you...so you can take that back." Dan says, "I think we had a horrible
     9:27:26 PM                                                           year. And everybody, at least we weren't fucking around..."


 148 7/10/2005          7130-1831    Bill Jones, Cathy Fitzgerald, Dana   Dana says, "It's like...borrowed...money we got, I gotta keep my dope tight on this end...to continue the...good...fortune."
     1:29:06 PM                      Jarvis                               Cathy will be going up soon to pick up the van from "the old man" [Geno Berthod], as soon as they figure the travel out.
                                                                          She can get a fairly cheap ticket to fly up there, "but getting back home is...crushing the budget a bit." Geno wouldn't
                                                                          answer Dana's calls and resigned. Dana had to talk to his partner [Dan Chomyn]. She can pick up money from Bill when
                                                                          she's there.

                                                                          The "Santa Fe house" [El Dorado house] sold yesterday. Dana is hoping to go over and meet the people that rented the
                                                                          club. He says, "...the more help I can give them to run it, the better chance is they'll pay rent and...the better chance, I'll be
                                                                          able to afford my lavish lifestyle." Dana might reduce the lavish lifestyle. He can do without the overhead and is happy to
                                                                          be selling the house.

 149 7/11/2005          7130-1865    Dana Jarvis, John Nieto              John met "with the buddy there" and wants to know if Dana wants him to meet with "the welder" [Mike Hannah]. The
     9:58:51 AM                                                           documents are 75 pages. John asks if he should "take the commission from the top" and Dana agrees.


 150 7/11/2005          5257-0461    Dana Jarvis, Jorge Luis Moffett      Jorge will always be there for Dana. Right now Jorge is "suffering a lot" and needs Dana's help. Dana tells him that he
     10:40:01 AM                                                          could see "the welder" [Mike Hannah] tonight. Jorge appreciates that and tells Dana that he can work on another project
                                                                          for Dana and that he saw some "very nice property the other day."

 151 7/11/2005          7130-1869    Dana Jarvis, Mike Hannah             Dana leaves a message saying that "our big buddy is going to be looking for you today." [John Nieto]. Dana asks him to call
     10:43:20 AM                                                          "nervous George" [Jorge Luis Moffett] after he sees John, but to talk to Dana first so they can figure out the
                                                                          "measurement" which will be small.

 152 7/11/2005          7130-1870B   Dana Jarvis, Mike Hannah             Mike returns Dana's call to get a number for Jorge. Dana is trying to budget and asks if he has a check coming. Mike says it
     10:49:04 AM                                                          will be out this week. Mike will "be issuing that probably tomorrow or so...and get off to you the same place and all that."
                                                                          Dana says, "...he [Mr. J, John Nieto] was going to take his commission out...and...that would leave an odd figure...1250
                                                                          would probably be the top number...just double check with me...if an investment opportunity arises between now and that
                                                                          time of day we're going to try to maximize...investments."

 153 7/11/2005          5731-2058    Ayla Jarvis, Batman                  Batman wants to know what's going on. Ayla will be going to Tucson today, but she doesn't know if she's flying or driving.
     12:24:28 PM                                                          She says, "I want to do it for sure." Ayla will call him when she gets into town and then he will "get the poker tables set up
                                                                          or whatever, that way I [Batman] can see what's going on."

 154 7/11/2005          7130-1879    Dana Jarvis, Dennis Cox              Dana has a "small check together there with my welder buddy." [Mike Hannah]. Dana is going to drive to Tucson tonight
     2:53:15 PM                                                           and is ready to work.



                                                                                                                                                                Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                  Page 14 of 21
                                          Case 1:05-cr-01849-JCH                    Document 1493-1                 Filed 12/29/08            Page 15 of 21
       Call-date-time       Call-#   Participants                         Summary

 155 7/11/2005          5257-0469    Dana Jarvis, Jorge Luis Moffett      Jorge has a "contract ready to sign" for Dana.
     4:49:48 PM


 156 7/11/2005          7130-1888    Dana Jarvis, Mike Hannah             Mike just met with John Nieto and is on his way to see Jorge Luis Moffett. John got "74." Dana says, "Oh, he took the full
     6:59:06 PM                                                           one out of there?...His pay would've been seven five zero. So I don't know what...he's doing taking an extra two fifty. I
                                                                          don't know what's that all about." Mike says John had to rent a car. Dana tells him to "just go with that even one..." for
                                                                          Jorge which will "...leave us 73 and life is good!"

 157 7/11/2005          5731-2069    Ayla Jarvis, Batman                  Ayla calls for a ride from the airport. Batman is trying to take care of something "because these dudes are talking about
     7:22:41 PM                                                           taking care of what was left." He's trying to "push and lock that in" so they can do that "first thing in the morning."


 158 7/12/2005          5731-2100    Ayla Jarvis, Merk                    Batman is up and told Merk they're going to "put things in motion." Merk asks if Ayla wants them to "go straight out
     9:08:50 AM                                                           there." Ayla will check and get back to him.


 159 7/12/2005          5731-2102    Ayla Jarvis, Cathy Fitzgerald, Dana Ayla tells Dana that things are in motion and says "where did you want me to ...cause that...is not available for
     9:10:51 AM                      Jarvis                              interviews..." Dana tells her to come to Denny's and have breakfast.


 160 7/12/2005          5731-2103    Ayla Jarvis, Merk                    Ayla has to go talk to Dana in person. Merk needs to do it quickly because "we're talking about my 10 year old staying at
     9:27:28 AM                                                           home here by himself...I told Batman so we're probably just gonna go straight to you just to make it faster"


 161 7/12/2005          7130-1905    Dana Jarvis, Dennis Cox              While waiting to leave a message for Dennis, Dana is heard saying to someone in the background, "This is Ayla's chance to
     10:24:35 AM                                                          do her thing and if they're no good she can send them back."


 162 7/12/2005          5731-2106    Ayla Jarvis, Dana Jarvis             Ayla asks Dana if he knows where the machine is located. He tells her where to find it upstairs.
     11:09:48 AM


 163 7/12/2005          5731-2107    Ayla Jarvis, Merk                    Ayla asks if they have a semi accurate machine. Merk says he will see what he can do.
     11:13:41 AM


 164 7/12/2005          5731-2108    Ayla Jarvis, Cathy Fitzgerald, Dana Cathy asks if everything is going okay and Ayla tells her "it hasn't even gotten here yet." Dana suggests to Ayla that they all
     12:18:22 PM                     Jarvis                              come into town and go some place different because it is so hot out there. He tells her that it worked out with Casey.
                                                                         Dana says, "it's a lesson he's gonna learn that's gonna turn his head around...he's really lucky...his Dad and I ...the
                                                                         guys...you know love him and support him otherwise...he'd be doing an environmental job out in the desert..." Ayla asks if
                                                                         the paperwork is set if everything goes well. Dana says yes.

 165 7/12/2005          5731-2112B   Ayla Jarvis, Batman                  Ayla is going to meet Batman at the studio to expedite things. She will bring him some "luggage" and "the instrument."
     2:04:32 PM


 166 7/12/2005          5257-0502    "Chuco Truco", Jorge Luise           Jorge says, "the veterinarian wants to look the horses over already...the thing is that if the old man likes the horses, he's
     3:03:11 PM                      Moffett                              going to keep them, tell him...I want the prices to be the same that he gave me last time. But, let's see if the pass the
                                                                          veterinarian's inspection first...You already saw what happened the last time, dude...The old man called me right now
                                                                          that...it looked like everything was going to get done."



                                                                                                                                                               Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                 Page 15 of 21
                                          Case 1:05-cr-01849-JCH                  Document 1493-1                 Filed 12/29/08             Page 16 of 21
       Call-date-time       Call-#   Participants                       Summary

 167 7/12/2005          7130-1937    Ayla Jarvis, Dana Jarvis           Ayla is "with the beauties... the girls, they're lovely...they're playboy...for sure...they're definitely keepers the ones that I
     3:30:51 PM                                                         got." She asks if she can meet with "the welder" [Mike Hannah]. Dana says, "Hell no!...the same procedure." Ayla
                                                                        "already did everything...already stripped them and everything." Dana thinks Casey "just pulled one over on all these guys."

 168 7/12/2005          7130-1949    Dana Jarvis, Ronald Juarez         Dana says, "...they're going to give us like, 600 with 50 down...we're going to check it out real quick....How fast can you get
     3:49:00 PM                                                         something out there?"


 169 7/12/2005          7130-1967    Dana Jarvis, Jorge Luis Moffett    Everything is together. Jorge needs to see Dana.
     4:26:00 PM


 170 7/12/2005          5257-0509    "Pilo", Jorge Luis Moffett         Pilo is leaving right now. Jorge says, "they're fucking us here..." Pilo will be there ten minutes.
     4:27:03 PM


 171 7/12/2005          5257-0513    Dana Jarvis, Jorge Luis Moffett,   Jorge needs to see Dana as soon as possible to give him the details. Dana tells him to bring the truck to the store. Dana
     4:30:10 PM                      Dennis Cox                         says, "...you get over there to the store now or we're gonna go spend the money."


 172 7/12/2005          7130-1975    Ayla Jarvis, Dana Jarvis           Dana was going to be at the ranch in a few minutes. He's going to go to the ranch, "check it out...then we got another
     4:42:00 PM                                                         one...it's probably already there now....There's 2 more, I already turned them down....I hit everybody this time." Ayla says,
                                                                        "I'm pretty sure...mine will top everything."

 173 7/12/2005          5731-2129    Ayla Jarvis, Dana Jarvis           Dana is picking up 2 other things right now. He says, "we've got an eighteen wheeler and then we have this other truck."
     4:57:57 PM                                                         He will let her know if he needs her help. He tells her they'll compare and "I'll send them home if there's this other.
                                                                        Otherwise you can come and make a judgment call."

 174 7/12/2005          5257-0538    "Pilo", Jorge Luis Moffett         Jorge already left and "the guy" already left [Dana]. Jorge will let him know what's going on later. Jorge doesn't "put
     5:58:20 PM                                                         pressure on them."


 175 7/12/2005          5257-0545    "Pilo", Jorge Luis Moffett         Dana isn't answering the phone and Jorge is worried about whether everything got there alright.
     7:43:09 PM


 176 7/12/2005          5731-2147    Ayla Jarvis, Merk                  Merk says, "...your dad just fucked us up again..." He tells Ayla that he and Batman were waiting for Dana. When he
     9:01:10 PM                                                         arrived, Dana said to them, "How come you ain't unloading?...Look, you can get your fucking shit and get the fuck out of
                                                                        here because you're small time. You're just my daughter's snag." Merk tells her they can't work with her anymore because
                                                                        they're going to lose respect with the people they work with. Ayla understands and apologizes. Merk tells her they know
                                                                        it's Dana and Ayla. Even Cathy apologized to Merk and Batman.

 177 7/12/2005          5257-0555    "Pilo", Jorge Luis Moffett         Pilo says the truck is back, but Dana hasn't called Jorge yet, so they don't know if everything is okay. Jorge will call Dana.
     9:29:08 PM                                                         Pilo is to wait to take the truck until Jorge talks to Dana.


 178 7/12/2005          5257-0558    "Pilo", Jorge Luis Moffett         Jorge still hasn't talked to Dana. He says, "...the old man has never screwed me in 20 years." He tells Pilo not to do any
     9:32:32 PM                                                         thing until Jorge talks to Dana.


 179 7/12/2005          5257-0559    "Pilo", Jorge Luis Moffett         [continuation of call 5257-0558 which was disconnected] Jorge reiterates that Pilo should not take the truck until Jorge
     9:33:26 PM                                                         talks to Dana and that there has never been a problem with anything in 20 years.

                                                                                                                                                             Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                               Page 16 of 21
                                          Case 1:05-cr-01849-JCH                 Document 1493-1                Filed 12/29/08            Page 17 of 21
       Call-date-time       Call-#   Participants                      Summary

 180 7/12/2005          5257-0560    "Pilo", Jorge Luis Moffett        Jorge says, "Don’t touch the car until I have spoken with the old man *Dana+....Well, I don't understand. This has never
     9:40:07 PM                                                        happened in my whoring life. Never! Ever! All the time...he calls me and tells me that it's done already...It's back already.
                                                                       Take it to the shop again."

 181 7/12/2005          5257-0562    Dana Jarvis, Jorge Luis Moffett   The truck is back, but Dana didn't take anything.
     9:46:40 PM


 182 7/12/2005          5257-0563    "Pilo", Jorge Luis Moffett        Dana didn't call earlier because his phone died. He didn't take anything. Jorge says, "the horses didn't pass the test." Pilo
     9:48:36 PM                                                        will get the car.


 183 7/13/2005          7130-2035    Dana Jarvis, David Reid           Dana will see Bobby this afternoon and David will go with him to talk to Bobby more about the plane. David will bring the
     2:48:00 PM                                                        breakdown of the figure he gave to Cathy.

                                                                       Call waiting: Mila calls in about Emma's doctor appointment. Dana is planning to go to Costa Rica at the end of the month.

 184 7/13/2005          7130-2036    "Fuzzy", Dana Jarvis              Dana will be going to Fuzzy and Fred's area within a week and wants to "get together on a small project."
     2:49:00 PM


 185 7/13/2005          7130-2051    Dana Jarvis, David Reid           Dana hasn't heard from Bobby yet. He complains about Bobby and Dennis and the situation with Casey. They discuss bills
     4:45:00 PM                                                        and David's rates for flying and per diem rates.


 186 7/13/2005          7130-2061    Cathy Fitzgerald, Dana Jarvis, Sam Cathy wants to know where Sam found the "specialty products" the last time he went shopping. Dana asks Sam if he'd be
     7:15:00 PM                      Jones                              interested in helping Bobby more. They talk about Sam's expenses and Dana complains about Bobby and Dennis and the
                                                                        situation with Casey.

 187 7/13/2005          7130-2069    Dana Jarvis, David Reid           David will be at Dana's house around 7:30 in the morning. They will get the breakdown of his figures and then meet with
     8:54:00 PM                                                        Bobby.


 188 7/14/2005          7130-2076    Dana Jarvis, Russell Trujillo     Dana has "good projects going. Russell can't get there before tomorrow. Russell asks Dana, "what do you think uh, like a
     9:39:27 AM                                                        van type or what?" Dana can't talk and tells him to call later.


 189 7/14/2005          5731-2187    Ayla Jarvis, Cathy Fitzgerald     Cathy is on her way to Wal-Mart because Target only had "five piece sets....The single ones like Eddie Bauer were $150
     12:33:19 PM                                                       each." The smaller five piece set was $60 and the bigger one was $80. Cathy thinks she'll either get 2 five piece sets or 3
                                                                       singles. They're almost done.

 190 7/14/2005          5731-2208    Ayla Jarvis, Cathy Fitzgerald     Ayla will call Nate when she's outside of Albuquerque. She's with Manuel Gil, but he's going back to Moriarty.
     10:17:30 PM


 191 7/15/2005          7130-2138    Dana Jarvis, Russell Trujillo     Dana is waiting on Russell to get to Tucson. Russell was waiting for Dana to tell him what was going on.
     1:27:00 PM


 192 7/15/2005          7130-2140    Ayla Jarvis, Dana Jarvis          Dana is "playing" with Cathy and figuring out what's going on. Ayla tells him that Manny "wanted to get a little" and Dana
     2:51:00 PM                                                        says, "Nobody takes anything more out of there unless it's cash upfront."



                                                                                                                                                           Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                            Page 17 of 21
                                          Case 1:05-cr-01849-JCH                  Document 1493-1                 Filed 12/29/08             Page 18 of 21
       Call-date-time       Call-#   Participants                       Summary

 193 7/15/2005          7130-2143    Dana Jarvis, Russell Trujillo      Russell is trying to get a car. Dana has one there in Tucson. Russell will call back.
     4:51:50 PM


 194 7/15/2005          7130-2144    Dana Jarvis, Russell Trujillo      Russell has a car lined up, but can't get it until 7 tonight. He'll get to Tucson tomorrow.
     5:16:44 PM


 195 7/15/2005          1212-1834    George Ripley, Ralph [RB] Greene   "Our friend" [Dana] wants to meet with them. "Things are looking good."
     8:33:00 PM


 196 7/15/2005          1212-1835    Dana Jarvis, George Ripley         George has left messages for everyone. He gives Dana Fuzzy's cell phone number [see call 1212-1643]. George will call
     8:36:00 PM                                                         Fuzzy. Dana wants to get something ready, "Market expansion...the road to success and wealth."


 197 7/16/2005          7130-2187    Dana Jarvis, Ralph [RB] Greene     Dana has a project going. Russell is a half hour away from the ranch, so they'll probably be back "up there" [Albuquerque]
     12:55:57 PM                                                        tonight. There's a possibility Dana will need Ralph's help tonight. Russell and George Ripley will be trying to get together,
                                                                        but don't have a good place to meet, so Ralph might help there. They will probably "get this rolling tomorrow out of
                                                                        there." Ralph never got out to Mary's and Dana says "Okay, well, we've got that too so we'll have a couple of varieties for
                                                                        the...remainder of the...summer here...And this is a pretty good sized one so we should be able to...double up anything
                                                                        that we did last time." Ralph will get some "paperwork together." Dana is surprised to be this happy "considering
                                                                        the...time of the season."

 198 7/16/2005          1212-1846    George Ripley, Ralph [RB] Greene   Ralph talked to "our friend" [Dana] today and it looks like Ralph and George could be heading out tomorrow. They are
     4:47:00 PM                                                         standing by.


 199 7/17/2005          7130-2242    Adrian Sanford, Dana Jarvis        Dana wants to see Adrian in person later today. He says, "Like I said yesterday, we are in the middle of a job and we are
     7:46:50 AM                                                         going to make zillions of dollars - or maybe not zillions...galleons. I'll fill you in, in person, how's that?


 200 7/17/2005          7130-2263    Dana Jarvis, Ralph [RB] Greene     Dana says, "I assume that you saw Rusty [Russell Trujillo]?" Ralph has not heard anything from anyone.
     1:09:00 PM


 201 7/17/2005          7130-2272    Dana Jarvis, Ralph [RB] Greene     Dana tried "the shop" and might try his [Russell's] house. Dana thinks he probably just slept in and they will hear from him
     2:22:37 PM                                                         soon.


 202 7/17/2005          7130-2284    Ayla Jarvis, Dana Jarvis, Mara     Dana tells Ayla there are "units over at the Bern [Bernalillo] house. She asks if she could do "85 cents on those." Dana
     3:20:00 PM                      Sierocinski                        says, "Absolutely not...for a thousand cash only." He tells her he'll give it to her at 950 and she can make $50. He also tells
                                                                        her "RB [Ralph] likes to take 5 of them and he'll pay 5 cash for 5 of them." She will get 5 to Ralph. Dana tells her to take a
                                                                        "quarter " for herself for free.

 203 7/17/2005          7130-2302    Cathy Fitzgerald, Dana Jarvis      Russell got in trouble in Casa Grande. Cathy has not met with the person she is supposed to see, but will meet with him
     9:19:00 PM                                                         tomorrow.


 204 7/18/2005          7130-2313    Dana Jarvis, Ralph [RB] Greene     Dana traced down "our buddy" [Russell Trujillo]. Dana says, "He didn't get too far out of town here...I guess he ran... in
     11:07:00 AM                                                        some problems." Dana ask Ralph to call Russell's wife to tell her that Dana has the $2000 and an attorney and they should
                                                                        have Russell out of jail today. Dana says "Yeah. And our thing is still on...He just had uh, he didn't have our thing."


                                                                                                                                                                Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                              Page 18 of 21
                                          Case 1:05-cr-01849-JCH                Document 1493-1                 Filed 12/29/08             Page 19 of 21
       Call-date-time       Call-#   Participants                     Summary

 205 7/18/2005          7130-2322    Dana Jarvis, Ronald Juarez       Dana tells Ronald that there is good news and bad news. Ronald asks if it is bad news like last time. Dana says, "Well, I told
     12:01:00 PM                                                      you about my friend [Russell Trujillo], he only made it 'til Casa Grande, dude. Do you want me to go into details over this
                                                                      tap phone or would you rather talk in person?"

 206 7/18/2005          7130-2324    Cathy Fitzgerald, Dana Jarvis    Cathy talked to "our friend's" [Russell Trujillo's] mom who had a message from Russell to tell Dana to get rid of his phone.
     12:25:00 PM


 207 7/18/2005          7130-2325    Dana Jarvis, David Reid          Dana has been instructed to get rid of the phone he's using. He tells David he's going to turn it off, take the battery out, get
     12:28:00 PM                                                      rid of it. David tells him to turn it off, but not to get rid of it. David says, "...give it back to me and I'll take care of it."


 208 7/19/2005          7130-2401    Dana Jarvis, Josh Gamboa         Josh found a tag on the front gate that says "Pima County Sheriff's Department. Officer Schwartz" tied to the chain. They
     3:44:00 PM                                                       cut the lock, but he doesn't see any police cars. Dana tells him to "see if they busted in the house" and to call him back.


 209 7/19/2005          7130-2403    Dana Jarvis, Josh Gamboa         It doesn't appear that anything has been broken into and the cars that are supposed to be there are all there. Dana says, "I
     3:56:00 PM                                                       guess we better get some stuff out of there....There's some stuff in the house we should get out right away." Dana tells
                                                                      Josh to pull the truck up to the ramp, to go into the office, "and unload all that shit out of the closet as fast as you can...And
                                                                      then, there's a couple things in there. You want to just put them in a garbage bag...that's kind of shiny looking?" After he
                                                                      does that, Josh is to call Dana back.

 210 7/19/2005          7130-2404    Dana Jarvis, Josh Gamboa         Dana tells Josh to find a place to put the truck, off the property that is safe for the time being. Dana tells him, "In...the big
     3:59:00 PM                                                       room...go in that closet...in the corner there's a bag in the closet....Grab that too, don't worry about locking up. Just grab
                                                                      that and get the fuck out of there as quick as you can."

 211 7/19/2005          7130-2406    Adrian Sanford, Dana Jarvis      Dana says, "They fucking raided the ranch dude....Thought I'd let you know...if they're hot on the tail. I guess he [Russell
     4:02:00 PM                                                       Trujillo] had a map or something...was talking."


 212 7/19/2005          7130-2419    Dana Jarvis, Ronald Juarez       Dana says, "They just raided the ranch....You better watch out. Just don't go back home right away....They might come to
     6:00:04 PM                                                       your place next." Ronald asks if there was anything there and Dana tells him the boys are clearing it out right now.


 213 7/20/2005          7130-2480    Dana Jarvis, Ralph [RB] Greene   Ralph isn't there yet. He's at the first gas stop. His understanding is that he is to "stay and hang out with...the club owner."
     5:31:00 PM                                                       [Greg Hill]


 214 7/20/2005          5731-2307    Ayla Jarvis, UF                  Ayla is checking her messages and is heard saying aside, "We're fucked!...The phone's tapped..."
     5:31:38 PM


 215 7/20/2005          5731-2308    Ayla Jarvis, UF                  Ayla is calling Mila and is heard saying aside while the phone rings, "The have enough evidence now to fucking...I don't
     5:33:18 PM                                                       know, kind of freaked out though..."


 216 7/20/2005          5731-2309    Ayla Jarvis                      Ayla is calling Mila and is heard saying aside while the phone rings, "No, 'cause I fucking...ooohh...I didn't even get my pay
     5:37:18 PM                                                       either because my dad is like 'no, we're going to put it in the next product.' I had fucking five grand (5000) coming and that
                                                                      would have done me straight...he wouldn't give it to me because..."




                                                                                                                                                            Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                              Page 19 of 21
                                          Case 1:05-cr-01849-JCH                Document 1493-1                Filed 12/29/08             Page 20 of 21
       Call-date-time       Call-#   Participants                     Summary

 217 7/20/2005          5731-2312    Ayla Jarvis                      Ayla is making a phone call and is heard saying aside while the phone rings, "Well, Dad was facing...one time and he ended
     5:44:51 PM                                                       up beating it in court 'cause he had enough money and enough lawyers....The second time he was facing it he went on the
                                                                      run for 12 years of his life and I was on the run for a lot of my life, too....You know what they're doing to us now, the third
                                                                      time around. They're destroying us financially so that we don't have room to go on the run....Defendants in court. They're
                                                                      destroying us on purpose."

 218 7/21/2005          7130-2520    Bobby Driscoll, Dana Jarvis      Dana is in Columbus with David Reid on "a little mission...picking up some paperwork." They are available if Bobby needs
     8:58:01 AM                                                       them to pick up anything to bring back. Bobby asks if they need any more work up there and Dana says, "Yeah, it could be
                                                                      done."

 219 7/21/2005          7130-2525    Dana Jarvis, Ralph [RB] Greene   Ralph's meeting at the first stop went fine even though the man he met wasn't expecting him. Dana says he meant to call
     9:38:00 AM                                                       the man, but waited too long. He says, "I forget the...things are kind of going fast motion..." Dana has a list of the whole
                                                                      thing and what should be remaining. He assumes "other traveling buddy" [George Ripley] contacted Fred and Fuzzy. Dana
                                                                      and Ralph discuss cases of "CD's" and the total number they have. Dana tells him that "the old man...the rock star [Bobby
                                                                      Driscoll]...might have...some additional CD's that we could put in with our collection, and that might be a really nice boost
                                                                      to the whole..."

 220 7/21/2005          7130-2528    Dana Jarvis, David Reid          Dana leaves a message for David: "I talked to RB [Ralph] and ...talked to Bobby. I should be hearing back from him soon.
     10:02:00 AM                                                      He might have a...some documents for us to pick up."


 221 7/21/2005          7130-2562    Dana Jarvis, Ronald Juarez       Dana tells Ronald that this phone is "going in [the] trash can in 30 seconds. Dana give Ronald a different number, 440-5731.
     1:44:00 PM


 222 8/7/2005           2798-0061    Dana Jarvis, Ralph [RB] Greene   Dana leaves a message for Ralph: "...Monday afternoon I'm planning on taking off, uh, we have the project...I, uh, left your
     12:53:16 PM                                                      check and the rest of the, down...South...I've got .. a project so I was thinking you might want to toss that in and I'd
                                                                      guarantee yourself ...a re-up. Maybe twice what the last was. I've already checked it out. It's...not too far from...92
                                                                      [Columbus] as we speak."

 223 8/8/2005           5731-2570    Ayla Jarvis, David Reid          Ayla asks how much it would be to fly to Atlanta and David tells her around $6000, maybe $4000. He says, "...this is part of
     8:31:15 PM                                                       what...I was trying to explain to your dad is the airplane...is expensive....Now if you're going to be taking anything with
                                                                      you...that can't go on a commercial airplane..."

 224 8/8/2005           5731-2575    Ayla Jarvis, Batman              Ayla asks how things are going and Batman replies, "...shit been...kind of down hill ever since all that..." He asks if "that
     8:51:19 PM                                                       worked out" for Dana. She says, "We ended up getting half of it popped on the fucking road the next day...we took 4, we
                                                                      got 2 of it popped...fucking 2 days later." Batman thought they were going by plane and she tell them they did half in the
                                                                      plane and half on the road."

                                                                      Batman says, "I know your Dad thought we were bullshitting, but with them guys...my boys were so ready to throw him
                                                                      some shit too...I don't know why he did that, but we were going to hook him up....They just needed some...starter
                                                                      cash....They got a new crop and whoa my god....it took them another week, week and a half after we didn't pull through
                                                                      'cause they had to pay this guy like 15, 20, 20 stacks..."

 225 8/15/2005          5731-2861    Ayla Jarvis, David Reid          Ayla deposited "five" in David's bank today.
     3:04:42 PM




                                                                                                                                                          Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                            Page 20 of 21
                                          Case 1:05-cr-01849-JCH                   Document 1493-1                 Filed 12/29/08             Page 21 of 21
       Call-date-time       Call-#   Participants                        Summary

 226 8/17/2005          2798-0224    Dana Jarvis, Ralph [RB] Greene      Dana says, "Cathy will be there today. We've got all the rest of...those things will be coming in, you know?...And she's
     1:24:04 PM                                                          broke. And Ripley's 2 guys, one's zeroed up and the other we just got something from...we've got another person ready
                                                                         to...pick up uh, documents and stuff and go down there, if he's ready."

 227 8/17/2005          2798-0226    Ralph [RB] Greene, Steve Geisler    Steve is "counting your paperwork right now." Ralph says, "That's a good thing because...there's an employee in the area
     1:27:40 PM                                                          right now that is totally busted [cash wise]." Ralph also tells Steve that the "availability right now...is...through the
                                                                         roof...there's a full...warehouse of recordings right now just...north of you." Ralph says, "...we need to...figure out a way to
                                                                         get the paperwork to the...secretary. Her name is Cathy."

 228 8/20/2005          5731-3011    Ayla Jarvis, Dana Jarvis            Ayla has "...a really, really, really good proposition...a close friend of mine's friend here who's ready to get three." He will
     4:34:25 PM                                                          go anywhere in Ohio. Dana tells her to come talk to him in person.


 229 8/22/2005          5731-3124    Ayla Jarvis, Dana Jarvis            Ayla leaves a message for Dana: "...My friend is going Cleveland tomorrow and I'm going to the 92 [Columbus]
     6:34:30 PM                                                          tomorrow...I'm setting it up and um...I still want to work with you. I'm not going to live with you. I won't be in your life
                                                                         anymore...than just tomorrow so, whatever."

 230 8/24/2005          5731-3201    Ayla Jarvis, Dana Jarvis            Dana leaves a message for Ayla and assumes that his "associates out there were able to rendezvous with you...let me know
     12:46:43 PM                                                         how you are doing on your business adventure."


 231 8/24/2005          5731-3210    Ayla Jarvis, Julio LNU aka "Cuba"   Ayla is going to get a sample to show Julio when he gets to the hotel, but she wants to know how much he thinks he will
     5:50:18 PM                                                          want if he likes it, so that she can already have the total with her. He tells her "if it's good...then I sample maybe like about
                                                                         20..."




                                                                                                                                                               Wiretap Calls to be Introduced at Trial
Monday, December 29, 2008                                                                                                                                                                 Page 21 of 21
